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1                              UNITED STATES DISTRICT COURT

2                                     DISTRICT OF NEVADA

3

4    TANIKO SMITH, et al.,                          Case No. 3:16-cv-00456-MMD-CLB

5                                    Plaintiffs,
                                                    ORDER
6       v.

7    ISIDRO BACA, et al.,

8                                 Defendants.
9

10           Before the court is Plaintiff Taniko Smith’s (“Smith”) Motion for Judgment
11   Pursuant to Fed.R.Civ.P. 50(a)(2), (ECF No. 76), and Smith’s Motion to Request an
12   Extension of Time to Reply (ECF No. 78).
13           On August 20, 2020, the District Court referred this case to the Pro Bono Program
14   for appointment of counsel.      (See ECF No. 75).       Accordingly, Smith’s Motion for
15   Judgment (ECF No. 76) is DENIED, with leave to refile upon appointment of counsel.
16   The motion for extension of time to reply to the motion for judgment (ECF No. 78) is
17   DENIED as moot.
18           IT IS SO ORDERED.
19            October 19, 2020
     DATED: ___________________
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                                                   UNITED STATES MAGISTRATE JUDGE
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